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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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IN RE: STANDING

ORDER
ELECTRONIC FILING UNDER SEAL
IN CIVIL AND MISCELLANEOUS CASES T £13 poem i
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The District Court’s Electronic Case Filing (ECF) system having been modified to allow sealed
documents to be filed electronically in publicly filed civil and miscellaneous cases by attorneys
admitted to the bar of this court who are registered F iling Users of the ECF system and attorneys
seeking admission pro hac vice, unless otherwise ordered by the court it is hereby

ORDERED, effective February 3, 2020, and subject to the exceptions outlined below, attorneys
seeking permission to file under seal in a publicly filed civil or miscellaneous case shall
electronically file a Motion or Letter Motion to Seal through the court’s ECF system.

The judge to whom the filing is directed may require that, in addition to the Motion or Letter
Motion to Seal, the proposed sealed document shall also be filed electronically through the ECF
system, and shall so indicate in his or her Individual Practices. Where the Individual Practices do
not expressly permit electronic filing under seal, the proposed sealed document shall be submitted
in the traditional manner, on paper.

Any party unable to comply with a judge’s requirement for electronic filing under seal through the
ECF system, or who has reason to believe that a particular document should not be electronically
filed, must move for leave of the Court to file in the traditional manner, on paper.

The ability to electronically file under seal does not enlarge the class of documents that may be
filed under seal in accordance with Federal Rule of Civil Procedure 5.2. The filing party must
demonstrate that the interest to be protected by filing under seal outweighs the presumption of
public access. Stipulations between the parties and confidentiality agreements are insufficient
alone to warrant restricted access.

Filing parties shall conform to the procedures for electronic filing under seal found in the court’s
Electronic Case Filing Rules & Instructions, as updated periodically (see attached).

The court’s Electronic Case Filing Rules & Instructions and further guidance regarding electronic
filing under seal may be found at https://nysd.uscourts.gov/electronic-case-filing,
Case 1:19-mc-00583-CM Document1 Filed 12/19/19 Page 2 of 2

SO ORDERED.

Dated: peeve / 7 _. 2019 } | 3
New York, NY Able a

 

Colleen McMahon
Chief Judge
